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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ----------------------------------- x
   In re                               : Chapter 11
                                       :
   PATRIOT COAL CORPORATION, et al.,   : Case No. 12-12900 (SCC)
                                       :
                        Debtors.       : Jointly Administered
   ----------------------------------- x

            ORDER DENYING THE MOTION OF PATRICIA WILLITS,
        WILLIAM G. PARROTT, JR., AND DON PETRIE, TRUSTEE FOR THE
         PPW ROYALTY TRUST, FOR RELIEF FROM AUTOMATIC STAY

            Upon the motion (the “Motion”) of Patricia Willits, William G. Parrott, Jr., and

   Don Petrie, Trustee for the PPW Royalty Trust, (collectively, the “Movants”)1 for relief

   from the Automatic Stay pursuant to 11 U.S.C. § 362(d) [ECF No. 339]; and the Court

   having jurisdiction to consider the Motion and the relief requested therein pursuant to 28

   U.S.C. §§ 157 and 1334 and Standing Order M-61 Referring to Bankruptcy Judges for

   the Southern District of New York Any and All Proceedings Under Title 11, dated July

   10, 1984 (Ward, Acting C.J.) as amended by Standing Order M-431, dated February 1,

   2012 (Preska, C.J.); and consideration of the Motion and the requested relief being a core

   proceeding the Bankruptcy Court can determine pursuant to 28 U.S.C. § 157(b); and the

   Motion having been served in accordance with the Order Establishing Certain Notice,

   Case Management and Administrative Procedures entered in these jointly administered

   cases on July 16, 2012 [ECF No. 84]; and upon the objection to the Motion filed by the

   Debtors; and a hearing having been conducted on October 11, 2012 (the “Hearing”); and

   upon the record of the Hearing, and the Court having found that cause was not


            1
              Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to such
   terms in the Motion.
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   demonstrated to grant the Motion or to lift the automatic stay; and after due deliberation

   it is hereby

           ORDERED, that the Motion is denied without prejudice; and it is further

           ORDERED, that, pursuant to section 362(a) of the Bankruptcy Code, the Movants

   are hereby stayed from the continuation as to the Debtors of the Appeal, Case Number

   ED 98674 pending before the Missouri Court of Appeals, Eastern District, in all respects;

   and it is further

           ORDERED that, pursuant to section 362(a) of the Bankruptcy Code, the Movants

   are stayed from the commencement or continuation of any proceeding against the

   Debtors, except upon further order of this Court granting relief from the automatic stay or

   except upon termination of the stay by operation of law; and it is further

           ORDERED that this Court shall retain jurisdiction to hear and determine all

   matters arising from or related to this Order.


   Dated: New York, New York
          October 17, 2012


                                         /S/ Shelley C. Chapman
                                         HONORABLE SHELLEY C. CHAPMAN
                                         UNITED STATES BANKRUPTCY JUDGE




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